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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE: PARAGARD PRODUCTS                        )          MDL DOCKET NO. 2974
LIABILITY LITIGATION                            )          1:20-md-02974-LMM
                                                )
                                                )
This document relates to:                       )
                                                )
BRANDI WILLIAMS                                 )    Civil Action No.: 1:21-CV-02918-LMM
vs.                                             )
                                                )
TEVA PHARMACEUTICALS                            )
USA, INC., ET AL.                               )


          PLAINTIFF’S RESPONSE TO COURT’S ORDER TO SHOW CAUSE


       Plaintiff BRANDI WILLIAMS, by and through counsel, files this Response the Court’s

Order to Show Cause (MDL Dkt. No. 768), and in support thereof would show unto the Court the

following:

       This Court has entered several Case Management Orders which govern the submission

Plaintiff Fact Sheets (“PFS”) in this MDL as well as the curing of any deficiencies identified by

Defendants. See MDL Dkt. Nos. 331, 385, 434, 553, and 634. On December 30, 2024, this Court

entered an Order to Show Cause on why certain Plaintiffs should not have their cases dismissed

for failures to comply with the PFS CMOs. See MDL Dkt. No. 768.

       The various iterations of the CMOs as to the submission of the PFS all generally require

that Defendant’s counsel “shall notify Plaintiff’s attorney of record in writing via email” as to

certain kinds of deficiencies in a Plaintiff’s PFS submission. See MDL Dkt. No. 634 at pg. 8. The

CMOs do not define what “attorney of record” means, so Plaintiff’s counsel generally interprets

that to mean the counsel listed on a Plaintiff’s Short Form Complaint (“SFC”), along with any
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attorneys that subsequently file their Notice of Appearance. A SFC was filed in this individual

case, listing Timothy W. Porter and Laurel Li Harris of Porter & Malouf, P.A. as primary counsel

of record for Plaintiff Williams. See Individual Dkt. No. 1. Attorney Mittie R. Field, of Porter &

Malouf, entered her appearance in this case on or about January 26, 2022. See Individual Dkt. No.

7.

       After this Court entered its Show Cause Order and published a list of plaintiffs subject to

the order, including Plaintiff Williams, this firm’s counsel for Plaintiff Williams immediately

searched within the email inboxes of all Porter & Malouf, P.A. counsel of record to locate any

Notice of Deficiency correspondence emailed by Defendants. It was discovered that a Notice of

Deficiency letter was emailed to Timothy W. Porter, one of the attorneys listed as counsel of

record. But a Notice of Deficiency letter was not sent to Mittie R. Field, another attorney listed as

counsel of record for Plaintiff Williams. Ms. Laurel Li Harris left Porter & Malouf in October

2021, and any correspondence sent to her former email with Porter & Malouf, P.A.

(laurelli@portermalouf.com) would have bounced back as being undeliverable. This email address

(laurelli@portermalouf.com) was listed on the SFC. See Individual Dkt. No. 1.

       Plaintiff’s apparent failure to timely respond to the Notice of Deficiency was inadvertent

and due to a mistake, as the email was overlooked and the firm’s other attorney, Mittie R. Field,

received no notice whatsoever. Upon learning that Plaintiff Williams was listed on the Show Cause

Order, counsel for Plaintiff immediately reached out to counsel for Defendants to ask for a 15-day

extension. Plaintiff’s counsel did not receive a response. At the same time, counsel for Plaintiff

also took immediate action to cure the deficiency and are working to obtain the information and

documents necessary to cure the deficiency. Counsel for Defense, Chris Morris, communicated




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that Defendants had no objection to the additional 15 days to cure the deficiency on January 9,

2025.

        In the interests of justice, and because Defendants have no objection in granting Plaintiff

additional time to cure the deficiencies, Plaintiff has shown just cause as to why Plaintiff’s case

should not be dismissed.

        WHEREFORE PREMISES CONSIDERED, Plaintiff Williams respectfully requests

that this Court grant Plaintiff’s request for an additional 15 days to cure any deficiencies identified

by the Defendant at this time or, in the alternative, Plaintiff requests to be heard on why her case

should not be dismissed.

        THIS the 10th day of January 2025.

                                               Respectfully submitted,

                                       By:     /s/ Timothy W. Porter
                                               Timothy W. Porter

                                               Timothy W. Porter, MSB No. 9687
                                               Suzanne Elizabeth Smith, PSB No. 328502
                                               Mitte R. Field, MSB No. 106291
                                               PORTER & MALOUF, P.A.
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                                               Attorneys for Plaintiff




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                                CERTIFICATE OF SERVICE

       I, Timothy W. Porter, do hereby certify that I have this day caused a true and correct copy

of the above and foregoing document to be filed with the Clerk of Court using the Court’s

Electronic Filing system, which will send notification to all counsel of record.

       This the 10th day of January, 2025.


                                                     /s/ Timothy W. Porter
                                                     Timothy W. Porter




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